8/2/2020      Case 2:20-cv-12230-PDB-EAS ECF
                                         Record No.
                                                Details1-3,
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                                                                                   Online


       24650 MARTHA WASHINGTON DR SOUTHFIELD, MI 48075 (Property Address)
       Parcel Number: 76-24-26-205-011

                                                            Property Owner: HURST, VAUGHN PATTON
                                                             Summary Information
                                                             > Residential Building Summary                                  > Assessed Value: $0 | Taxable Value: $0
                                                               - Year Built: 1964          - Bedrooms: 0                     > Property Tax information found
                                                                 - Full Baths: 3                - Half Baths: 1              > 20 Building Department records found
                                                                 - Sq. Feet: 3,166              - Acres: 0.408

                                                             > 6 Invoices Found, Amount Due: 0.00


                Item 1 of 2      1 Image / 1 Sketch



           Owner and Taxpayer Information


           Owner                            HURST, VAUGHN PATTON            Taxpayer                              SEE OWNER INFORMATION
                                            19785 W 12 MILE RD # 404
                                            SOUTHFIELD, MI 48076



           General Information for Tax Year 2020


           Property Class                   401 - RESIDENTIAL               Unit                                  76 CITY OF SOUTHFIELD
           School District                  Southfield                      Assessed Value                        $0
           MAP #                            No Data to Display              Taxable Value                         $0
           USER NUM IDX                     0                               State Equalized Value                 $0
           USER ALPHA 1                     Not Available                   Date of Last Name Change              Not Available
           USER ALPHA 3                     Not Available                   Notes                                 Not Available
           Historical District              Not Available                   Census Block Group                    Not Available
           USER ALPHA 2                     Not Available                   Exemption                             No Data to Display

           Principal Residence Exemption Information


           Homestead Date                   06/04/2020

            Principal Residence Exemption                                                                               June 1st                                               Final

            2020                                                                                                       0.0000 %                                         100.0000 %


           Previous Year Information

            Year                                                            MBOR Assessed                                  Final SEV                                    Final Taxable

            2019                                                                          $0                                       $0                                            $0

            2018                                                                     $102,610                                      $0                                            $0

            2017                                                                      $91,130                              $91,130                                          $76,950


           Land Information


           Zoning Code                      Not Available                   Total Acres                           0.408
           Land Value                       $0                              Land Improvements                     $4,525
           Renaissance Zone                 No                              Renaissance Zone Expiration           No Data to Display
                                                                            Date
           ECF Neighborhood                 426C BAKER'S WASHINGTON         Mortgage Code                         Not Available
                                            HTS 26C
           Lot Dimensions/Comments          No Data to Display              Neighborhood Enterprise               No
                                                                            Zone

            Lot(s)                                                                          Frontage                                                                          Depth

            Lot 1                                                                           127.00 ft                                                                      140.00 ft

                                                                        Total Frontage: 127.00 ft                                                      Average Depth: 140.00 ft


           Legal Description

           T1N,R10E,SEC 26 230-1 A P J L BAKERS WASH HTS SUB WLY 6 FT OF LOT 229, ALSO ALL OF LOTS 230 & 231


           Land Division Act Information


https://bsaonline.com/SiteSearch/SiteSearchDetails?SearchFocus=Tax&SearchCategory=Address&SearchText=24650+Martha+Washington&uid=272…                                                   1/3
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                                                                                   Online
           Date of Last Split/Combine      No Data to Display         Number of Splits Left           0
           Date Form Filed                 No Data to Display         Unallocated Div.s of Parent     0
           Date Created                    No Data to Display         Unallocated Div.s Transferred   0
           Acreage of Parent               0.00                       Rights Were Transferred         Not Available
           Split Number                    0                          Courtesy Split                  Not Available
           Parent Parcel                   No Data to Display



           Sale History

            Sale Date                  Sale Price Instrument    Grantor                    Grantee                    Terms of Sale                   Liber/Page

            04/07/2020            $308,000.00        WD         SOUTHFIELD                 HURST, VAUGHN              NOT REPRESENTATIVE              54173/725
                                                                NEIGHBORHOOD               PATTON
                                                                REVITALIZAT

            10/23/2018                    $1.00      QC         CITY OF SOUTHFIELD         SOUTHFIELD                 NOT REPRESENTATIVE              52300/734
                                                                                           NEIGHBORHOOD
                                                                                           REVITALIZAT

            06/29/2018             $22,642.00        D          OAKLAND COUNTY             CITY OF SOUTHFIELD         COUNTY TAX SALE                 51961/624
                                                                TREASURER

            02/14/2018                    $0.00      JUD        HALL, TAWANDA              OAKLAND COUNTY             COUNTY TAX SALE                 51858/112
                                                                                           TREASURER

            06/11/2010             $67,000.00        CD         WELLS FARGO BANK           HALL, TAWANDA              BANK SALE-NOT REPRES            42172/186

            07/02/2009                    $1.00      QC         MTGE ELECTRONIC REG        WELLS FARGO BANK           NOT REPRESENTATIVE              41358/425
                                                                SYSTEM

            06/30/2009            $268,856.00        SD         BROWN, MARCY F             MTGE ELECTRONIC REG        SHERIFF'S DEED                  41307/370
                                                                                           SYSTEM

            07/16/1979            $110,000.00        LC                                                               PUR TO L.C.


           Building Information - 3166 sq ft TRI-LEVEL (Residential)

           General

           Floor Area                      3,166 sq ft                Estimated TCV                   $303,029
           Garage Area                     625 sq ft                  Basement Area                   567 sq ft
           Foundation Size                 2,305 sq ft
           Year Built                      1964                       Year Remodeled                  Not Available
           Occupancy                       Single Family              Class                           BC
           Effective Age                   29 yrs                     Tri-Level                       Yes
           Percent Complete                0%                         Heat                            Forced Heat & Cool
           AC w/Separate Ducts             No                         Wood Stove Add-on               No
           Basement Rooms                  0                          Water                           Not Available
           1st Floor Rooms                 0                          Sewer                           Not Available
           2nd Floor Rooms                 0                          Style                           TRI-LEVEL
           Bedrooms                        0

           Area Detail - Basic Building Areas

            Height                     Foundation                         Exterior                                                    Area Heated

            Bi-Level                    Bi-Lev. 80%                       Siding/Brick                                        979 sq ft    Bi-Level

            1 Story                     Slab                              Siding                                              623 sq ft    1 Story

            1 Story                     Basement                          Brick                                               567 sq ft    1 Story

            1 Story                     Slab                              Brick                                               136 sq ft    1 Story


           Area Detail - Overhangs
                                Area Story Height                         Exterior                                                          Included in Size for Rates

                            78 sq ft    1 Story                           Siding                                                                                    1

           Basement Finish

           Recreation                      0 sq ft                    Recreation % Good               0%
           Living Area                     0 sq ft                    Living Area % Good              0%
           Walk Out Doors                  0                          No Concrete Floor Area          0 sq ft

           Plumbing Information

           3 Fixture Bath                  3                          2 Fixture Bath                  1
           Extra Sink                      3                          Ceramic Tile Floor              4
           Ceramic Tub Alcove              3

           Built-In Information
https://bsaonline.com/SiteSearch/SiteSearchDetails?SearchFocus=Tax&SearchCategory=Address&SearchText=24650+Martha+Washington&uid=272…                                    2/3
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                                                                                   Online
           Cook Top                           1                                  Dishwasher                          1
           Garbage Disposal                   1                                  Microwave                           1
           Standard Range                     1

           Fireplace Information

           Exterior 1 Story                   1                                  Raised Hearth                       1

           Garage Information

           Area                               625 sq ft                          Exterior                            Brick
           Foundation                         42 Inch                            Common Wall                         1.5 Wall
           Year Built                         1964                               Finished                            Yes
           Auto Doors                         0                                  Mech Doors                          0

           Porch Information

           CCP (1 Story)                      60 sq ft                           Foundation                          Standard




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